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EXHIBIT A
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
‘CHARNAE J ONES, CIVIL ACTION NO.
Plaintiff, 1:22-cv-05134-MLB

V.
PROVISTA DIAGNOSTICS, INC.,
And TODOS MEDICAL, LTD

JURY TRIAL DEMANDED

Defendants.

PLAINTIFFS’ MOTION AND MEMORANDUM
FOR SANCTIONS AS REMEDY FOR DEFENDANT’S CONTEMPT

Plaintiff files her Motion and Memorandum for Sanctions as Remedy for
Defendants’ Contempt from Defendants’ failure to pay Plaintiff in accordance with
this Court’s April 15, 2024 approval of the Fair Labor Standards Act (“FLSA”)
settlement agreement in this case and from Defendants’ failure to pay in
accordance with the Court’s October 24, 2024 Order directing Defendants to pay
by November 14, 2024 or to Show Cause by November 21, 2024 as to why

Defendants should not be held in Contempt. (Doc. 39) Defendants have failed to

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pay to Plaintiff in any amount. Defendants have failed to Show Cause as to why

they should not be held in Contempt by this Court.

RELEVANT FACTS

1. This case was filed on December 29, 2022 [Doc. 1]

2. The parties engaged in negotiations and made an agreement to end the

litigation in exchange for payment.

3. The parties memorialized their agreement and filed a Joint Motion to
Approve Settlement on October 20, 2023.

4. The Court approved the settlement on April 15, 2024 and terminated the

case but retained jurisdiction for the purposes of enforcing the Settlement

Agreement.

>» The Settlement Agreement [Doc. 27-1] states that payment was to be made

no later than 30 days after Court approval of the Settlement Agreement. Therefore,

payment was due no later than May 15, 2023. Payment was not tendered and

Defendants breached the agreement.

6. The Settlement Agreement further calls for a 10% per day penalty for each

day that the funds remained unpaid.
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T. This Court retains jurisdiction to enforce the settlement agreement since “a
breach of the agreement would be a violation of the order.” Kokkonen v.

Guardian Life Ins. Co. of Am., 511 U.S. 375, 381 (1994).

8. Defendants have violated the Court’s Order by refusing to make payment to
Plaintiff or Show Cause as to why they should be held in Contempt.

9. On December 23, 2024, after hearing and considering the evidence, the
Court HELD Defendants in Contempt and in its ORDER (Doc. 42) instructed
Plaintiff to file a Motion Seeking an Additional Sanction. The Court further
GRANTED Plaintiff an additional 45 days of discovery for the purpose of
uncovering Defendants’ ability to pay additional amounts for their failure to
comply with the Court’s October 24, 2024 ORDER.

10. Because Defendants have been stubbornly litigious and caused the
Plaintiffs’ unnecessary trouble and expense, Plaintiffs request that their attorney’s

fees for having to prepare this motion be paid by Defendants.

Il. ARGUMENT AND CITATION TO AUTHORITY

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A. The Court Possesses Broad Discretion in Fashioning a
Contempt Sanction.

“The party seeking contempt bears the initial burden, by clear and

convincing evidence, a willful disregard for the authority of the court through

failure to comply with a court order” Ga. Power Co. v. NLRB 484 F.3d 1288, 1291

(11 Cir. 2007). “The clear and convincing evidence must establish that: (1) the
allegedly violated order was valid and lawful; (2) the order was clear and
unambiguous; (30 the alleged violator had the ability to comply with the order.”

Ga. Power Co., 484 F.3d at 1291.

Once the moving party makes a prima facie showing that the court order
was violated, the burden of production shifts to the alleged contemnor to show a
present inability to comply that goes beyond a mere assertion in inability[.]

Howard Johnson Co., Inc. v. Khimani, 892 F.2d 1512, 1516 (11" Cir. 1990)

Once a party is found in contempt, “A court has broad discretion in

fashioning a contempt sanction.” FN Herstal, S.A. v. Clyde Armory, Inc., Civil

Case No. 3:12-cv-00102 ,18 (M.D. Ga. Sept, 27, 2016). And the Court of Appeals

reviews the grant or denial of a motion for civil contempt under an abuse of

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discretion standard. McGregor v. Chierico, 206 F.3d 1378, 1383 (11" Cir, 2000)

The sanction can be either coercive or compensatory, intended to make the injured
party whole from the losses and the expenses incurred as a result of the
contemptor’s actions or inactions. Id.

In this case, the Court has found Defendants in Contempt. The Court
GRANTED Plaintiff 45 days of discovery in an effort to fashion an appropriate
remedy for Defendant’s contempt. As part of the original Settlement Agreement,
the parties agreed to a monetary sanction of 10 % per day that Defendants
remained in default. Defendants failed to pay the agreed settlement amount after
the period of time set out in the Settlement Agreement for cure of its Default on or
after May 25, 2024. There is no sanction specified in the agreement for
Defendants’ contempt. Defendant has still not paid the agreed upon amount or any
amount and has made no attempts to rectify its Default. According to its counsel,
Defendants have ceased communication with its counsel and thus with this Court.
This Court found Defendant in Contempt on December 23, 2024. Plaintiff asks that
she be granted 10% per day on the amount already granted to Plaintiff by the Court
or $5,625.00 as a sanction for Defendants’ Contempt and in order to make Plaintiff

whole.
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B. Plaintiff’s Attorneys’ Fees and Costs (Acted in bad faith)

“An award of attorneys’ fees is an appropriate sanction response for civil

contempt.” Hubbard/Downing, Inc. v. Kevin Heath Enters., 1:10-cv-1131-WSD

(N.D. Ga. Jan. 6, 2014) (Citing Shaefer Fan v. J&D Mfg., 265 F.3d 1283, 1290

(Fed. Cir. 2001). “A willfulness is not a prerequisite to awarding attorneys’ fees in

a civil contempt action.” Id. (Citing Sizzler Family Steak Houses v. Western

Sizzlin Steak House, Inc., 793 F.2d 1529, 1535-36 (11™ Cir. 1986).)

Since Defendants refused to honor the Settlement Agreement, Plaintiff was
forced to file a motion enforcing the agreement. When Defendants further refused
to respond to the Court’s Order and failed to show cause as to why Defendants
should not be held in contempt, Plaintiff verbally petitioned the Court for
sanctions. The Court Ordered Plaintiff to file this Motion for Sanctions. As a result,
Plaintiff has incurred additional attorney fees.

WHEREFORE Plaintiff respectfully requests that the Court: (1) Order
Defendants to pay additional attorney’s fees for attorney’s attendance at the hearing
for contempt and for the preparation of this motion; (2) enter a sanction resulting
from Defendants’ contempt as a result of its failure to show cause as to why

Defendants should not be held in contempt.
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This 29th day of December 2024.

/s/ Beverly A. Lucas
Beverly A. Lucas
Georgia Bar No. 427692

Lucas & Leon, LLC

P.O. Box 752

Clarkesville, Georgia 30523
T: (706) 752-2001

F: (706) 752-8085
beverly@lucasandleon.com

Attorney for Plaintiff
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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
~ CHARNAE JONES, CIVIL ACTION NO.
Plaintiff, 1:22-cv-05134-MLB

V.

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TODOS MEDICAL, LTD and
Defendants.

JURY TRIAL DEMANDED

CERTIFICATE OF FONT COMPLIANCE AND
CERTIFICATE OF SERVICE

In accordance with Local Rule 7.1D, I hereby certify that the foregoing was
prepared with one of the font and point selections approved by the Court in Local
Rule 5.1B. Specifically, it was prepared with Times New Roman, 14 point.

I further certify that I electronically filed the foregoing PLAINTIFF’S
MOTION FOR SANCTION AS A REMEDY FOR CONTEMPT BY
DEFENDANTS AND FOR AN AWARD OF ATTORNEY’S FEES with the Clerk
of Court using the CM/ECF system which will automatically notify Defendants’
counsel by electronic mail which will automatically send email or other

notification of such filing to the following attorneys of record:

Jan E. Smith Whitney M. Dupree
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lan@spirelawfirm.com whitney@spirelawfirm

This 29th day of December 2024.

/s/ Beverly A. Lucas
Beverly A. Lucas
Georgia Bar No.: 427692

